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                                                                                                    02/22/2018

                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

In Re:                               )
                                     )                           CASE No. 16-42066
JAE MOO CHOI AND JUNG H. CHOI )
8900 Independence Parkway, Apt. 7201 )                           CHAPTER 11
Plano, TX 75025                      )
                                     )
                 Debtors.            )

                         AGREED ORDER GRANTING
               UNITED STATES OF AMERICA’S MOTION TO DISMISS

         The Court has considered the Motion of the United States of America to dismiss

this case and the agreement of the parties to dismiss. Based upon the Motion and the

agreement of the parties to dismissal of the case, the Court is of the opinion that the

Motion should be GRANTED. Accordingly, it is hereby,

         ORDERED that this case is DISMISSED. The Debtors are further ORDERED to

pay all United States Trustee fees due and owing pursuant to 11 U.S.C. § 1930(a)(6)

within ten days of the date of entry of this order.

         SO ORDERED AND ADJUDGED.


                                                            Signed on 2/22/2018

                                                                                                    SR
                                               HONORABLE BRENDA T. RHOADES,
                                               UNITED STATES BANKRUPTCY JUDGE
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AGREED TO IN FORM AND SUBSTANCE:


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